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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NORTH DAKOTA

UNITED STATES OF AMERICA                      INDICTMENT

                 v.
                                              Case No. ______________________
BETTY LYNN TINGLER,
a/k/a BETTY LYNN TINGLER-CLAY,
a/k/a PRECIOUS WHITE,                         Violation: 18 U.S.C. §§ 922(g)(1) and
a/k/a BETTY LYNN CLAY                         924(a)(8)

                      Possession of a Firearm by a Prohibited Person

The Grand Jury Charges:

      From in or about September 2023 to on or about March 16, 2024, in the District of

North Dakota, and elsewhere,

                                 BETTY LYNN TINGLER,
                          a/k/a BETTY LYNN TINGLER-CLAY,
                                 a/k/a PRECIOUS WHITE,
                                a/k/a BETTY LYNN CLAY,

knowing that she had been convicted of a crime punishable by imprisonment for a term

exceeding one year, to wit:

      1. Felony Theft, in violation of Tex. Penal Code § 31.03(e)(4)(D), in
         District Court, County of Jefferson, State of Texas, Case No.: 15-21561,
         with the judgment dated on or about July 27, 2015;

      2. Felony Theft, in violation of Tex. Penal Code § 31.03(e)(4)(D), in
         District Court, County of Jefferson, State of Texas, Case No.: 15-22376,
         with the judgment dated on or about July 27, 2015;

      3. Possession of a Controlled Substance, in violation of Tex. Health &
         Safety Code § 481.115(b), in District Court, County of Jefferson, State
         of Texas, Case No.: 17-28320, with the judgment dated on or about
         March 5, 2018; and
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      4. Second Degree Robbery, in violation of Tex. Penal Code § 29.02, in
         District Court, County of Jefferson, State of Texas, Case No.: 87262,
         with the judgment dated on or about October 11, 2002,

did knowingly possess a firearm, that is, an SCCY, Model CPX-1, 9mm caliber pistol,

with Serial Number C467598, said firearm having been shipped and transported in

interstate and foreign commerce;

      In violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(8).




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                                 FORFEITURE NOTICE

       Upon conviction for the offense alleged in this Indictment,

                                BETTY LYNN TINGLER,
                         a/k/a BETTY LYNN TINGLER-CLAY,
                                a/k/a PRECIOUS WHITE,
                               a/k/a BETTY LYNN CLAY,

shall forfeit to the United States, pursuant to Title 18, United States Code, Section

924(d)(1), and Title 28, United States Code, Section 2461(c), all firearms involved in the

commission of the offense, including but not limited to, the following:

       • One SCCY, Model CPX-1, 9mm caliber pistol, with Serial Number C467598.

                                           A TRUE BILL:

                                           _________________________________
                                           /s/ Foreperson
                                           Foreperson

/s/ Jennifer Klemetsrud Puhl
JENNIFER KLEMETSRUD PUHL
Acting United States Attorney




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